
PER CURIAM.
Appellant, Kenneth Bryson, appeals the trial court’s order entered in favor of appel-lees, Camille Reynolds and James Larkin Reynolds, holding that the adoption agreement entered into between the parties was valid. Contrary to appellant’s contentions, we find that there was sufficient competent evidence to support the findings of the trial court. Friedman v. U.S. Home Corp., 452 So.2d 1111 (Fla. 2d DCA 1984); In re Estate of Rodgers, 149 So.2d 391 (Fla. 1st DCA 1963).
Accordingly, we affirm.
RYDER, C.J., and CAMPBELL and FRANK, JJ., concur.
